

McMahon v  Cobblestone Lofts Condominium (2022 NY Slip Op 00274)





McMahon v  Cobblestone Lofts Condominium


2022 NY Slip Op 00274


Decided on January 18, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 18, 2022

Before: Renwick, J.P., Webber, Oing, Scarpulla, Pitt, JJ. 


Index No. 151136/14 Appeal No. 15085 Case No. 2020-04480 

[*1]Shane McMahon et al. Plaintiffs-Respondents,
vThe Cobblestone Lofts Condominium, Defendant-Appellant, The Andrews Organization, Formerly Known as, Andrews Building Corporation et al. Defendants.
The Cobblestone Lofts Condominium, Third-Party Plaintiff-Appellant, The Andrews Organization, Formerly Known as, Andrews Building Corporation, Third-Party Plaintiff,
vNova Restoration of NY Inc., et al., Third-Party Defendants-Respondents. And a Third-Party Action.


Wilson Elser Moskowitz Edelman &amp; Dicker LLP, White Plains (Joseph A. H. McGovern of counsel), for appellant.
GordonLaw LLP, Katonah (Michael R. Gordon of counsel), for Shane McMahon and Marissa McMahon, respondents.



Order, Supreme Court, New York County (Paul A. Geotz, J.), entered on or about April 20, 2020, which, to the extent appealed from as limited by the briefs, denied defendant-appellant's motion for summary judgment on the affirmative defense of failure of consideration, unanimously affirmed, without costs.
To the extent defendant seeks rescission of the parties' contract, the court properly found that defendant failed to show that it lacked an adequate remedy at law (see generally Rudman v Cowles Communications , 30 NY2d 1, 13 [1972]).
We have considered defendant's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 18, 2022








